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             EXHIBIT 1
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                         EXPERT REPORT OF DR. ARTHUR FRANK

A.      Qualifications.
        1.       I am Dr. Arthur L. Frank. My work address is Drexel University School of

Public Health, 1505 Rac~ Street, 13 th Floor, Philadelphia, PA 19102.

        2.       I am a physician currently licensed in Pennsylvania and Texas. I practice

occupational Medicine, in which I am board certified, as well as being certified in internal

medicine.

        3.       My curriculum vitae is attached as Exhibit A.

        4.        My Ph.D. degree is in Biomedical Sciences, and the original research

carried out to be awarded this degree had to do with the effects of asbestos on organ

cultures. I have also published on the effects of asbestos on cell cultures as well as

populations exposed to asbestos.

        5.        I studied at the Mount Sinai School ofM:edicine with Dr. Irving Selikoff

and have been involved with asbestos-related activiti4~s since 1968.

        6.        I have been an invited speaker on the subject of asbestos-related disease on

numerous occasions and have lectured throughout thtl United States as well as

internationally. I have spoken on the subject of asbestos in such countries as Austria,

England, Brazil, Italy, Israel, India, Thailand, China and elsewhere. I have given the

keynote address on the subject of asbestos before the American College of Occupational

and Environmental Medicine and the comparable group in Canada.

         7.       I have examined thousands of asbestos exposed workers either in person or

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by x-ray evaluation.

        8.       My current professional activities include biomedical research, teaching,

departmental administration, service activities to my school, university, state, national and

international organizations, and time spent doing medical-legal work, which I have been

doing on a regular basis since the latter part of the 1970s. Most of my medical-legal work

has had to do with asbestos although I have also been engaged in assessment of persons

exposed to silica, coal, gasoline, benzene and several other exposures. I have, over these

decades, been deposed many times and testified in court frequently.

        9.        My curriculum vitae list the dozens of publications I have authored or co- '

authored on the subject of asbestos. Most articles have appeared in the peer reviewed

literature.

         10.      I have worked in the area of occupational medicine for a number of

companies, governmental agencies, and have collaborated with unions on a variety of

occupational health issues.

         11.      I have served as an advisor or consultant on the subject of asbestos to a

variety of federal and state agencies including the EPA, NIOSH, OSHA and have worked

with the National Academy Institute of Medicine on the subject of asbestos. I have

advised international governmental agencies on the hazards of asbestos.

B.       The Nature of Asbestos.

         12.      There are six fiber types regulated as asbestos, five amphiboles (crocidolite,

amosite, tremolite, anthophyllite, and actinolite), and one serpentine form (chrysotite).


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There are numerous other fibrous materials that are considered asbestiform, and other

fibers that have been studied for their ability to produce malignancy, specifically

mesothelioma.

        13.        In addition to asbestos, which is the primary cause of mesothelioma in

North America, and much of the rest of the world, studies have shown mesothelioma

developing after exposure to fibrous zeolites in Turkey and to fluoro-edenite in Sicily. A

variety of fibers, including man-made fibers, have produced mesotheliomas in animal

studies.

         14.       It has been generally agreed that all mineralogic forms of asbestos produce

a wide range of diseases, and there is a considerable body of data that there may well be

differences in the biological effects of different fiber types.

         15.       Asbestos fibers are both inhaled and ingested and can cause disease.

Asbestos fibers that are ingested are distributed elsewhere into other parts ofthe body as

well as being removed from the lungs. There is scientific literature that reviews the rate

of clearance from lung tissue which documents removal of chrysotile to occur more

quickly than amphiboles. I am not aware of any studies that look at asbestiform or other

fibrous materials as to the rate of clearance from the lung except for some man-made

fibers that have been looked at for their biopersistencl~.

C.       Asbestos-Related Diseases.

           16.     There are two types of disease caused by asbestos, non-malignant (benign)

and malignant (cancerous). As noted above, all the fiber types are known to produce all


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of these diseases, although there is literature about differences in response based upon

different fiber types.

        17.      The non-malignant diseases include asbestos skin warts (of which nothing

further will be discussed), benign asbestotic pleural effusion, and asbestosis. Benign

asbestotic pleural effusion is generally an uncommon finding, often thought of as the first

manifestation of an asbestos disease, often seen within ten years of first exposure. It is

characterized by a bloody pleural effusion, without an underlying malignancy. In Libby,

Montana, the rate of benign pleural effusions appears to be more frequent than is

generally seen in other populations, this view coming from clinical impressions.

        18.      Asbestosis is one of the pneumoconios~:s, or dust diseases of the lung, first

described by Dr. Zenker, a pathologist, in 1867. There are numerous pneumoconioses in

addition to asbestosis, including silicosis, coal workers pneumoconiosis, ta1cosis, and

others. Asbestosis can be further divided into two types, parenchymal asbestosis and

pleural asbestosis. Not all agree to this distinction, but it can be justified by various

scientific facts. Parenchymal asbestosis is characterized by fibrotic changes in the lung

tissue itself, caused by exposure to asbestos. These changes generally are not seen earlier

than ten years after first exposure. Progression after (~essation of exposure is dependent

on the ILO category at that time; more progression occurs with higher levels. There are

reports of disease occurring in less than ten years, but generally with heavy levels of

exposure. Pleural asbestosis, a term not accepted by all, develops when fibrotic changes

occur in the pleura. Simply calling it pleural plaquing or pleural fibrosis makes no


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difference with regard to what is noted. These changes generally do not occur prior to ten

years either, and in many populations are often clinically inapparent. Low level

exposures that produce pleural asbestosis are rarely clinically significant by themselves,

and rarely progress. Here we have a significant difference in that among the people of

Libby, both those occupationally exposed and those only environmentally exposed, there

appears to be much more progression, and has also b~:en found to be the cause of death in

a much larger percentage of cases than noted elsewhere. The one exception to this is the

significant diseases seen in the Anatolian Plain of Turkey where there is environmental

evidence of significant pleural disease as well as mesothelioma.

        19.       There are numerous malignant changes caused by asbestos. Many

carcinogens appear to cause only one or a few different forms of malignant disease,

although asbestos seems to cause many more malignant diseases than most carcinogens.

The cancers caused by asbestos include: (1) lung cancers of several cell types, (2)       .

mesothelioma in several sites (pleural, peritoneal, pericardial and testicular), (3) a variety

of gastrointestinal tract cancers (esophageal, stomach, colon, etc.) (4) laryngeal cancer

and (5) kidney cancer. There is a significant synergistic effect between smoking and

asbestos with the development of lung cancers. In general, cancers do not begin to appear

before 10-15 years from first exposure; the risk of asbestos-related cancers will last

throughout a person's lifetime. There appears to be a dose response relationship with the

development of all cancers, without evidence of a threshold, as there is for the

development of asbestosis. There appears to be no "safe" level of exposure to asbestos.


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Data exists that very short periods of exposure give ri.se to excess cases of cancer; in

animals this can be as short as one day and human data shows less than a month of

exposure will double the risk of lung cancer.

D.      Methods of Diagnosis.

        20.      The diagnosis of asbestos-related disease is based upon standard medical

practice. First, one needs to obtain a history of exposure to asbestos. This is the most

critical documentation of exposure to asbestos, more important than any tissue evaluation.

One problem with obtaining a history is that individuals may not always know that they

have been exposed to asbestos, especially with environmental exposure rather than in

occupational settings. Physical exam findings related. to asbestos exposure occur in a

minority of individuals with asbestos-related disease. For non-malignant disease this

would include rales, dusky lips and/or nailbeds, changes in fingernails or other findings of

chronic lung disease. Radiologic evidence is what is usually available in individual cases

and may be either in the form of chest X-rays, often of several views, or from CT scans.

There are characteristic changes that can be found, related either to fibrosis in the lungs or

the pleura. Pulmonary function testing mayor may not be abnormal, and may show

restrictive changes, obstructive change, or both. Advanced testing such as diffusing

capacity may also be abnormal. Rarely available, but often helpful if available, is tissue

which allows for pathologic evaluation. Cancers, on occasion, are diagnosed only on a

clinical basis, but the best data comes from pathologic~ evaluation of tissue. Such tissue

can make the diagnosis of both non-malignant and malignant disease.


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E.      The Libby Experience.

        21.      The method of evaluation of individuals exposed to Libby vermiculite and

its contaminants is no different from the evaluation of any other asbestos exposed group.

Numerous studies making use of standard medical and scientific evaluation techniques

have been carried out on the Libby cohort. What makes the Libby experience strikingly

different from many other situations are the findings that are available. While the

diseases found in the Libby cohort have been the same, their time to onset, clinical

pattern, and impact on those environmentally exposed is different than in pleural cohorts

elsewhere.

        22.       The Libby cohort is characterized by predominately pleural disease. In the

Peipins (2003) summary of ATSDR screenings in 2000 and 2001, of the 6,668

participants, 18% had pleural abnormalities and under 1% had interstitial abnormalities.

Similarly, Whitehouse (2004) found in 123 patients with two or more sets of pulmonary

function tests, 55% had pleural disease with no interstitial fibrosis and 45% had pleural

disease with only minimal interstitial fibrosis. No patient in the study had advanced

interstitial disease.

        Few asbestos disease cohorts are reported as predominately pleural disease.

Cohorts which may be considered predominately pleural include those in Turkey, Corsica

and those living near the Finnish anthophyllite mining activities. None of these are

reported as being progressive, severe or leading to pleural death. Mesothelioma cases are

reported. Most asbestos disease cohorts show predominately interstitial, with a lesser

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pleural disease component, which is rarely progressive and rarely severe. This is in sharp

contrast to the Libby cohort, which is predominately pleural, and the pleural disease is

generally progressive and often severe.

        In the Libby community, pleural disease is widespread. Peipins (2003) uses

"central Lincoln County" with a relatively stable population of9,521 for the past 30 years

as a definition of the affected area in and about Libby, Montana. The expert report of Dr.

Whitehouse informs as to total numbers diagnosed and numbers with positive screenings,

amounting to a very significant percentage ofthe local community population. Similar

numbers for proper comparison are not generally available from other pleural cohorts, but

it may be observed that the Libby cohort appears to present more widespread disease in

the community, more environmental exposure cases, and perhaps a greater percentage of

the community total population than is the case in other pleural cohorts. The only other

area with a somewhat similar pattern of disease from environmental exposures is in parts

of Turkey.

        24.       The Libby cohort is characterized by rapid progression of pleural disease

and a pleural disease severity not reported elsewhere. The expert report of Dr.

Whitehouse presents observations on rapidity of progression and disease severity. No

similar observations have been reported from other pleural disease cohorts, or for that

matter for pleural disease in any setting.

         Particularly striking is the observed number of cases in the Libby cohort of pleural

disease leading to death, with little or no interstitial di.sease present. Dr. Whitehouse


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includes chest x-ray series on a number of patients with diffuse pleural disease,

accompanied by increasingly severe restrictive disease leading to death. Nothing of this

kind has been reported elsewhere. There are few reports of pleural disease resulting in

death in the medical literature. ATS (2004), p.707, cites five. I believe I have heard ofa

few others in my career of30 years. Death by pleural disease is generally accepted as a

rare occurrence. Not so in Libby. In this aspect, the Libby experience is strikingly

different from that reported elsewhere.

        The Libby cohort has produced 31 apparently verified cases of mesothelioma,

including 19 Grace mine workers and 12 persons environmentally exposed. This is

indeed striking in a population under 10,000 in the Libby area. Of course, there is

turnover in the population and undoubtedly more have been significantly exposed to

Libby vermiculite. This rate would rival that of many regularly exposed occupational

groups.

        There also appears to be more clinical pain associated with the Libby experience

than is generally found with pleural disease elsewhere.

         25.      It is also significant that Libby asbestos disease may appear early after

intense exposure. As reported in the expert report of Dr. Whitehouse, W.R. Grace chest

x-ray series on workers in 1969,1975 and 1976 showed 17%, 6% and 5% abnormals.

With the caveat that these workers likely had community exposures prior to work for

W.R. Grace, to be sure these are significant numbers of abnormalities in the first five

years after intense occupational exposure. This phenomenon is rarely seen elsewhere,


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other than in benign asbestotic pleural effusion. Early presentation also speaks to the

high toxicity of the Libby asbestos, in addition to high exposure levels.

        26.      The question is presented as to why Libby is so different from other pleural

disease cohorts, in intensity, mortality, and impact on those environmentally exposed.

The answer to this question is not definitively established as yet.

        One explanation is that the Libby materials, the IlLibby asbestos," is particularly

toxic. The Libby material has been variously referred to as Iltremolite,'l "tremolite-

actinolite,t' and now "winchite." Meeker (2003) appe:ars to be the definitive work on the

mineralogy. Meeker refers to the material as the "Vermiculite Mountain amphiboles. 1l

The materials meet the chemical definition for amphiboles (p. 1958). The materials are

"fibrous" as well as "asbestiform." Most samples met the definition of "true" asbestos

(p.1968). In the samples collected, there was a wide range of material, 40% of which was

asbestos (p.1963). Meeker (Figure 6) shows that the material is largely winchite,

chemically close to tremolite. The difference between winchite and tremolite is minute,

but it may be significant in terms oftoxicity to humans. It may be that winchite is more

toxic than other amphiboles. Or, it may be that the rkhterite or the tremolite in the mix of

fibers is the problem. The combination of fibers may also be responsible. The matter '

will require further investigation.

         All the fibers in question are amphiboles. It is the majority view that amphiboles

are more toxic than serpentine asbestos. My own view is that the issue is not settled, as

there is evidence going both ways. It may be that the Libby amphibole is a particularly


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toxic form of amphibole asbestos.

        A second factor which may explain why the Libby experience is so different is that

virtually all patients had a 24 hour exposure in Libby, whereas in most cohorts workers

went home to an area of respite from asbestos exposure. The Grace workers had eight

hour exposures at the mine, but generally went home with asbestos dust on their clothing,

to homes in areas of perhaps significant ambient asbestos exposure. Accordingly, their

exposure, like that of community members, was generally a 24 hour exposure. The 24

hour exposure without respite for the lungs to clear much ofthe asbestos might be a

factor in the intensity, severity, and the extent of asbe:stos disease in Libby.

F.      Prevention of Disease.

        27.       The modem era of the appreciation of disease caused by asbestos goes back

to the end of the 19th century. The term asbestosis was first used in the mid 1920s. In the

1930s, when there was a growing literature on this subject, both parenchymal and pleural

disease were considered to be part of the disease asbe:stosis. Also, as early as 1930

preventive measures were written about as important to the prevention of asbestos-related

disease. The first suggestions that asbestos could cause malignancy were made, in the

1930s, and written about definitively as early as 1942. The lay press was aware of the

malignant hazards of asbestos by the end of that decade.

         28.      I adopt by this reference the opinions and matters stated in my Report of

9/26/06.

         29.      The data and other information considered in forming the above opinions


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and observations includes:

        a.        The Expert Report of Dr. A.C. Whitehouse, which I rely upon and concur
                  in.

        b.        Four visits to Libby, conferences with Dr. ,Whitehouse and Dr. Black, and
                  substantial work done for the U.S. Government in the U.S. v. Grace
                  criminal case.

        c.        The common exhibits for the Grace trials in Libby 1997-2000 attached on
                  CD.

        d.        Consultations with Dr. Terry Spear, Professor of Industrial Hygiene, at
                  Montana Tech of the University of Montana, School of Mines, Butte,
                  Montana.

        e.        Transcripts of the trials in Skramstad v. WR. Grace (1997), Benefield v.
                  W.R. Grace (1998) and Finstadv. WR. Grace (1999), on CD.

        f.        Depositions upon Earl Lovick, Assistant Manager of the W.R. Grace
                  operations of Libby, Montana, on CD.

        g.        Occupational medicine and cell biology literature on asbestos and disease.

         30.      I am being compensated at the rate of$350 per hour.

         31.      A listing of other cases with trial or deposition testimony is attached as

Exhibit B.

DATED        thid~dJiY ofDecember, 2008.
                                                A~~ t .~;l1IJ
                                               Arthur L. Frank, MD, PhD




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                           CURRICULUM VITAE



NAME                            Arthur L. Frank, MD, PhD

DATE AND PLACE OF BIRTH         June 9, 1947; Sacramento, CA

CITIZENSHIP                     United States of America

MARITAL STATUS                  Married: Joanne B. Frank
                                Three children: Matthew and Rebecca 8/5/81
                                                Aaron 3/8/89

OFFICE ADDRESS                  Drexel University
                                School of Public Health
                                245 N. 15th Street, Mail Stop 1034
                                Philadelphia, PA 1B102-1192

                                (For UPS & FedEx use 1505 Race Street, 13th Floor, Bellet Bldg.
                                 Philadelphia, PA 19102)

HOME ADDRESS                    1216 Yarmouth Road
                                Wynnewood, PA 1!~096

TELEPHONE                       (215) 762-3930 Office
                                (215) 762-8846 Fax
                                (610) 642-1785 Home
                                (877) 549-0845 (Pager)
                                e-Mail: alf13@drexEfl.edu
EDUCATION

  College                       State University of New York at Buffalo
                                Buffalo, NY 14214
                                1964-1968, BA, May 31, 1968
                                Major: Anthropology

 Medical School                 Mount Sinai School of Medicine
                                of the City of New York
                                New York, NY 10029
                                1968-1972, MO, June 4,1972




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EDUCATION (continued)

 Graduate School                    The City University of New York
                                    Biomedical Science!s Doctoral Program
                                    Mount Sinai Medical Center
                                    New York, NY 100:29
                                    1971-1977, PhD, June 2, 1977
                                    Thesis Title: Quantitation of Asbestos-
                                    Induced Hyperplasba in Hamster Trachea
                                    Epithelium Maintained in Organ Culture

INTERNSHIP AND RESIDENCY
Straight Medical Internship, Intemal Medicine Residency, Mount Sinai
 Hospital, New York, NY, 1972-1973, 1975-1977
Occupational Medicine Residency, 1975-1977, Mount Sinai

MILITARY SERVICE
Commissioned Officer (Active), United States Public Heailth Service
 Rank: SA Surgeon (03) 1973-1975
 Lung Cancer Branch, DCCP, National Cancer Institute, National Institutes
  of Health, Bethesda, MD 20014
 Member, Inactive Reserve, 1975-Present. Permanent Rank: Surgeon (04)
 Active Duty (variable), 1992-1994. Temporary Rank: Ml!dical Director (06)

HONORS AND AWARDS
College - SA, Cum Laude, ~th High Honors in Anthropology, 1968
Medical School - National March of Dimes Award, 1971
Residency - Chairman's Award-Department of Medicine, Mount Sinai Hospital, 1977
Graduate School - Sigma Xi, 1977
Horowitz Memorial Award of the Mount Sinai School of Medicine, 1983.
Educator of the Year Award, Association of Teachers of Preventive Medicine
 (First Annual Award), 1987
University of Kentucky Faculty Grant Award, 1988-91 (Awarded to top 20% of
 University-wide faculty)
Honorable Order of Kentucky Colonels (3)
Senior Associateship, National Academy of Science, 1990-91 (NIOSH)
Honorary Ambassador of Labor, Labor Secretary, Commonwealth of Kentucky, 1992
BRASH 1994 Chaos and Strange Attractor Award
Topperman Professorship-The University of Texas Health Center at Tyler 1994-2002
Arthur L. Frank, M.D., Keynote Lectureship, UTHCT 2002
Marcus Key Lecture, TOMA, 2003
American College of Preventive Medicine Distinguished Service Award, 2/2004
Sappington Lectureship, American College of Occupational and Environmental Medicine, 5/2005
Canadian Board of Occupational Medicine Lectureship, 06/2006

CERTIFICATION & LICENSURE
National Board of Medical Examiners, 1973 [Certification No. 123394,7/2/73]
Kentucky State License, MD, #22985 [9/29/83]
New York State License, MD, #116288 (7/2/73]
Maryland State License, MD, Certificate 016595 [5/17/74]
Diplomate, American Board of Internal Medicine [#58896, 9/13/78]
Diplomate, American Board of Preventive Medicine (Occupational Medicine)
 [#21574, 11/26/79]


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EDUCATION (continued)

Texas State License [Distinguished Professor's License issued 12/28/94]
(Converted on 3/2/96 to unrestricted Texas License J9855)
Pennsylvania State License, MD, #418954 [3/20/02]

ACADEMIC APPOINTMENTS

Professor of Public Health, Department of Environmelntal and Occupational Health, Drexel
University School of Public Health 2002 to Present (tenured)

Professor of Medicine, Drexel University School 'of Medicine (Secondary), 2002 to present

Sam Topperman Professor of Medical Education; Professor of Occupational and Environmental
Medicine; Professor of Cell Biology and Environmental Sciences
University of Texas Health Center at Tyler
1994-2002

Adjunct Professor
Department of Preventive Medicine and Community Health
The University of Texas Medical Branch at Galveston
1995-present

Clinical Professor
Department of Medicine
The University of North Texas Health Science Center at Fort Worth
1997-Present

Clinical Professor
Department of Occupational Medicine
University of Texas Health Center at Tyler
3/2004 - Present

Adjunct Graduate Faculty
Stephen F. Austin State University
Nacogdoches, Texas
1997-2002

Adjunct Faculty
US Air Force School of Aerospace Medicine
Brooks AFB, TX
2001 - Present

Professor
Department of Preventive Medicine and Environmental Health
University of Kentucky College of Medicine
1983-1994

Member, Graduate Faculty
Graduate School
University of Kentucky
1987-1994




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ACADEMIC APPOINTMENTS (Continued)

Member. Graduate Center for Toxicology
University of Kentucky
1988-1994

Associate Member
Appalachian Center
University of Kentucky
1989-1992

Instructor, Assistant Professor. Associate Professor
Department of Community Medicine (Environmental Medicine)
Mount Sinai School of Medicine                  .
1977-78,1978-82,1982-83

Instructor
Department of Medicine
Mount Sinai School of Medicine
1978-1983

Member, Graduate Faculty
City University of New York
Biomedical Sciences Program
1980-1983

ADMINISTRATIVE APPOINTMENTS
Chairman
Department of Environmental and Occupational Health
Drexel University School of Public Health
2002 - Present

Vice President for Medical Education (title change as of 2/99)
Associate Director for Medical Education (1994-1999)
University of Texas Health Center at Tyler
1999-2002

Ethics Officer
University of Texas Health Center at Tyler, 1998- 2002

Center Director
Southwest Center for Agricultural Health, Injury Prevention
and Education. 1995-2001, Renewed 2001

Medical Director
Lake Country Area Health Education Center
The University of Texas Medical Branch at Galveston
1995-2002

Chairman
Department of Preventive Medicine and Environmental Health
University of Kentucky College of Medicine
1983-1994



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ADMINISTRATIVE APPOINTMENTS (Continued)

Director
Occupational Medicine Residency Program, 1984-1994
General Preventive Medicine Residency Program, 1984-'1989
Department of Preventive Medicine and Environmental Health
University of Kentucky College of Medicine

Principal
Behavioral Research Aspects of Safety and Health Working Group (BRASH)
1984~1994


Director of Graduate Studies, Master of Science in Public: Health Degree Program
1987-1994, University of Kentucky Graduate School

Deputy Director
Southeast Center for Agricultural Health and Injury Prevention 1992-1994

Scientific Administrator
Environmental Sciences Laboratory
The Mount Sinai School of Medicine
1981-1983

Director
Residency Programs in Community Medicine, 1977~1981
The Mount Sinai School of Medicine

HOSPITAL APPOINTMENTS
Attending Staff and Chief of Service
University Hospital, University of Kentucky Medical CentEir
  1983~1994
Consultant Appointment, Veterans' Administration Hospital
 Lexington, Kentucky

.Courtesy Staff Appointments
 Middlesboro ARH 1985-1994
 Hazard ARH 1985-1994

Assistant Attending
Mount Sinai Hospital
New York, NY 10029
1982-83
Senior Clinical Assistant, 1978-1982
Clinical Assistant, 1977-1978

FELLOWSHIPS AND MEMBERSHIP IN PROFESSIONAL ORGANIZATIONS
American Association for the Advancement of Science, 1972-Elected to Fellowship, 1996
American College of Physicians, Fellow
American College of Preventive Medicine, Fellow, Occupational Medicine Regent, 1997-1999,
Chair, CME Committee, 1997-present, Board of Directors, American Journal of Preventive
Medicine, 1999-2003, Secretary - Treasurer, 2000 - 2004
American Public Health Association
American Thoracic Society
Association of Teachers of Preventive Medicine; Secretary, 1981-84; Board of
 Directors, 1987-90, Education Committee, 1992-1994
                                                 5
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FELLOWSHIPS AND MEMBERSHIP IN PROFESSIONAL ORGANIZATIONS (Continued)

Association of Teachers of Preventive Medicine Foundation, Inc.; Board of
  Directors, 1981-84
New York Academy of Sciences, Life Member                    .
Society for Occupational and Environmental Health, Founding Member; Governing
  Council, 1992-1994, Vice-President 1998-2000
American College of Occupational and Environmental ME~dicine
Collegium Ramazzini, Executive Board 2002-2006
International Society for Preventive Oncology
Kentucky Occupational Safety and Health Network, Founding Member; Board of
Directors, 1986-94; Executive Board, 1991-94; Secretary, 1992-93;
 President-Elect, 1993-94
National Occupational Safety and Health Education Association, Founding Member, 1989
  Chair, 1990-91
Farm Safety for Just Kids
British Occupational Hygiene Society
Sigma Xi, Life Member
Texas Council on Agricultural Safety and Health, President 1999 - 2001
College of Physicians of Philadelphia 2002 ., elected to Fellowship, 2005

TEACHING ACTIVITIES

Course Coordinator, Occupational and Environmental Medicine, Georgetown University School of
Medicine, 1975
Division of Industrial Safety, District of Columbia Industri.al Safety Board, Washington, DC 1974,
1976
Page and William Black Post-Graduate School of Medicine, Mount Sinai Medical Center, 1977·82
Continuing Education, Mount Sinai Hospital Department I:)f Nursing, 1976-78
Hahnemann Medical School, 1978-82
Hahnemann Hospital, 1980
University of Pennsylvania School of Medicine, 1979
University of Medicine & Dentistry of New Jersey, 1979-1981
Senior Medical Consultants, 1979-83
Practicing Law Institute, 1980-85
State University of New York at Buffalo, 1980-81
State University of New York at Stony Brook, 1981-82
IBM/University of Kentucky EXCEL Program, 1985-89
University of Kentucky Annual Family Medicine Review (Continuing Medical Education), 1985-86,
1993
University of Kentucky Annual Physician Assistant Review, 1987
University of Kentucky College of Engineering, Continuing Education 1984-89, 1994
University of Louisville College of Medicine, 1986-87, 1991
Bay State Medical Center, Springfield, Massachusetts, 1{~88
Preceptor, William Osler Program, UK Medical Center, 1l~88-1994
American College of Preventive Medicine, Board Review Course, 1989, 1990
EPOCH Awardee, NIOSH, 1989-91
St. Elizabeth's Hospital, Edgewood, KY, 1991, 1992, 1993, 1994
University of Texas Health Center at Tyler, Tyler, TX, 1993
Beijing Medical University, Beijing, People's Republic of China, 1993, 1995
Methodist Hospital, Indianapolis, IN, 1993
American Occupational Health Conference, Chicago, IL, 1994
Forum Program, Donovan Scholars Program, University j:>f Kentucky, 1994
Kentucky Thoracic Society, 1994 (L. E. Smith Lectureship)
Southern Agromedicine Consortium, Keynote Luncheon Address, 1994
                                                6
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TEACHING ACTIVITIES (Continued)

Kentucky School Board Insurance Trust, 1994
Qingdao Sanitation and Anti-Epidemic Station, 1995
School of Public Health, University of Texas, Houston, 1095
School of Public Health, University of Texas, San Antonio, 1997
Qingdao University School of Medicine, Qingdao, PRC, 1997
Ain Shams University Institute of Postgraduate Studies, Cairo, Egypt, 1998
UTMB, Course on Occupational Medicine, Galveston, 1999, 2000,2001
Qingdao Centers for Disease Control and Prevention, Qingdao, PRC, 2000
UTMB, Department of Family Practice, Galveston, Texas, 2000, 2001,2002
UT Southwestern Public Health Program, Dallas, Texas :WOO
UNTHSC, Fort Worth, Texas, 7/2001
Air Force School of Aerospace Medicine, Brooks AFB, TX 2/02, 2/03, 6/06
GI Conference, Drexel 2/03
Pulmonary Conference, Drexel 2/03, 5/03

CONSULTANCIES AND RELATED ACTIVITIES

Consultant, George Washington University School of Medicine, Science Communication Division,
1976-78
Consultant, Environmental Protection Agency; Ad Hoc Committee for the in-vitro stUdy of fibrous
amphiboles, 1977
Consultant, DHEW Committee to Coordinate Toxicology, Subcommittee on Asbestos, 1978
Consultant, State University of New York at Stony Bro()k, School of Medicine, Department of
Community Medicine, 1980
Consultant, National Academy of Sciences Committee 011 Indoor Air Pollution, 1981
Invited Participant, Conference on Vision Effects ofVDT Use, National Academy of Sciences, 1983
Ad Hoc Grant Reviewer, Health Resources Administration, Division of Medicine, Study Section on
Environmental Medicine Curriculum Development Grants, 1979; Preventive Medicine Residencies,
1980, 1983, 1988, 1991
Site Visitor, National Institute for Occupational Safety and Health, 1983-91
Editorial Board, American Journal of Industrial Medicine, Environmental Research, Journal of
Community Health, Toxicology and Industrial Health, CanCt9r Detection and Prevention, International
Journal of Occupational Medicine and Toxicology, Intemational Journal of Hygiene and
Environmental Health, etc.
Article Reviewer, Journal of the National Cancer Institute, Journal of the American Medical
Association, Journal of Environmental Pathology and Toxicology, Science, American Journal of
Public Health, The American Statistician, Journal of Occupational and Environmental Medicine,
Archives ofEnvironmental Health, Southern Medical Journal, Law and Social Inquiry, Occupational
and Environmental Medicine, American Journal of Pre-ventive Medicine, Archives of Internal
Medicine, etc.
Associate Editor, Environmental Health Section, Maxcy-Rosenau-Last Public Health and Preventive
Medicine, 12th Edition, 13th Edition
Advisor, New York City Health Systems Agency Task Force on Environmental Health, 1979
Member, Environmental Health Committee, New York City Health Systems Agency, 1979-80
Member, New York Lung Association Committee on Occupational Hazards to the Lung, 1977-78
Consultant, University of Arizona College of Medicine. Department of Family and Community
Medicine, Project on Incorporation of Preventive Medicine into Family Practice, 1985-86
 Consultant, Occupational Cancer Project, Workers Occupational Health Clinic, Cincinnati,
 Ohio, 1985-87
Member, NIOSH Study Section for Occupational Safety Bind Health, 1985-89;Chairman, 1988-89
 Consultant, Labor Cabinet. Common\Nealth of Kentucky, 1987-1994
 Member, National Board of Medical Examiners, FLEX Examination Committee, 1985-91; NBME
 Pulmonary Medicine Subcommittee, 1989-91; USMLE Content Reviewer, 1994
                                                 7
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CONSULTANCIES AND RELATED ACTIVITIES (Continued)

Consultant, Toyota Motor Manufacturing, USA, Inc., 19815-1994
  -1988 Acting Medical Director
Member, Steering Committee, National Conference on Residencies in Occupational Medicine, 1988
Chair, Association of Occupational Medicine Residency Directors, 1988-1989
Grant Reviewer, Arizona Disease Control Research Commission, 1988-2003
Consultant, Ashland Oil, Ashland, Kentucky, 1988-1994
Member, Advisory Board Center for Applied Energy Rese!arch, University of Kentucky, 1990-1995
Member, Board of Directors, Occupational Physicians Scholarship Fund, 1988- present
Consultant, Urgent Treatment Center, Lexington, Kentucky, 1989-1994
Consultant, NIOSH Review of Document on Workplace Screening, 1990
Consultant, Natural Resource and Environmental Protection Cabinet, Commonwealth of Kentucky,
1990-1994
Consultant, Island Creek Corporation, 1990-1993
Member, NIOSH Board of Scientific Counselors, 1992-1fl96
Presenter, International Conference on Exposure to Carcinogens and Mutagens in the Industrial
and Ambient Environment, "Issues of Asbestos Carcino~lenicity". Jerusalem, Israel, January 30,
1992.
Member, Environmental Board, Commonwealth of Kentuc:ky (Appointed by the Governor), 1991-95
Presenter, Ohio AFUCIO Worker's Compensation Institute, "The Role of the Primary Care Physician
in Occupational Disease". Akron, Ohio, March 1992.
Presenter, (20th Anniversary Class Representative) Alumni Day Program, Mt. Sinai School of
Medicine, 'The Mt. Sinai-Kentucky Connection". New York, NY April 11, 1992.
Presenter, NIOSH Grand Rounds, ALOSH, Morgantown, WV, 1992.
Associate Editor, Mosby Year Book of Occupational and Environmental Medicine, 1992-94, Co-
Edltor-in-Chief, 1995-98
Guest Editor, Memorial Volume of Environmental Research honoring Dr. Irving J. Selikoff, 1992
Consultant, Qingdao Hygiene and Anti-Epidemic Station, Qingdao, Shandong Province,1993-
2003
Guest Professor, Beijing Medical University, Peoples Republic of China, 1993-19ge
Presenter, From Rio to the Capitals: State Strategies for Sustainable Development, May 25-28,
 1993, Louisville, KY
 Presenter, State of Ohio Workers Compensation Program, 1993
 Presenter, Kentucky Laborer's Union Asbestos Training Program, 1993
 Presenter, Collegium Ramazzini Scientific Session, 1993, Session Co-Chair
 Kentucky Nominee, Technical Oversight Committee, Southern Appalachian Mountain Initiative, 1993
 Consultant, EPA Panel on the Use of Genetic Monitoring for Risk Assessment in Communities
 Exposed to Hazardous Waste, University of Texas Medical Branch at Galveston, 1994
 Member, Residency Advisory Committee, U.S. Air Force Residency Program in Occupational
 Medicine, Brooks Air Force Base, San Antonio, TX, 1994~
 Advisorv Board Member. "Cost~effective Medicine Reports", Mosby Publishing Co. 1994-1996
 Presenter, Collegium Ramazzini Scientific Session, Carpi, Italy, October 29, 1994
 Advisory Board Member, BRASH (Behavioral Research Aspects of Safety and Health) Working
 Group, University of Kentucky, 1994-
 Presenter and Session Chair, SOEH Conference on Tuberculosis in the Workplace. December 1-2,
 1994. Washington, DC
 Presenter, Andrews Publications Seminar on Asbestos-Related Diseases. Houston, TX March, 1995
 Presenter, Bar lIan University, Israel, March 1995
 Presenter, Hadassah Medical School, Israel, March 1995
 Presenter, 1st International Congress of the Minia School of Medicine, Minia, Egypt April, 1995
 Program Participant, Kentucky Governor's Safety and Health Conference, Louisville, KY
 April, 1995
 Member, Advisory Board, Southwest Center for Occupational and Environmental Health, Houston,
 Texas, 1995-1998.
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CONSULTANCIES AND RELATED ACTIVITIES (Continued)

Consultant, Texas Medical Association, Council on Medical Education, 1994-2002.
Subcommittee on Accreditation, 1995-2001, Chair for 19!97-2001, CME Committee, 1997-2001.
Presenter, Occupational and Environmental Respiratory Disease Course, The University of Texas
School of Public Health, Houston, TX 1995.
Presenter, Departmental Seminar, The Department of Prslventive Medicine and Community Health,
The University of Texas Medical Branch, Galveston, Texi:ls 1996.
Presenter, Second International Conference of EnvironmEmtal Mutagenesis in Human Populations
at Risk, Prague, Czech Republic 1995.
Session Chair, Annual Meeting of the Society of Occupatic1nal and Environmental Health, Bethesda,
MD. Dec-6-8, 1995.
Member, Advisory Board, Lake Country AHEC, 1995-2002. Board chair, 1996-1997.
Member, Advisory Board, NIEHS, Toxicology Center, UTMB, 1996-2002
Session Chair and Rapporteur, Third Annual NIOSH Agricultural Health and Safety Conference,
Iowa City, Iowa, March, 1996.
Seminar Program Chair, AOHC, San Antonio, Texas, ACOEM 1995-96.
Alumni Day Centennial Program, Mount Sinai Medical Cemter, New York, NY. April 13, 1996.
Speaker and Session Co-chair, The 6th International Conference on "Preservation of our World in
the Wake of Change", Jerusalem, Israel, June, 1996.
Speaker, VIII Inhaled Particles Meeting, Cambridge, England, August, 1996.
Presenter, Collegium Ramazzini Scientific Session, Carpi, Italy, October 27, 1996.
Member and Chair, Residency Advisory Committee, Occupational Medicine, University of Texas
Medical Branch, Galveston, Texas 1997-
Member, University of Texas System Master Planning Organization and Task Force for Distance
Learning and the Virtual University, 1997.
Member, Advisory Board, Texas A&M University Rural SGhool of Public Health, College Station,
Texas, 1997·2002
Presenter, TOMA meeting, Houston, Texas, March 14, 1!~97
Presenter, Environmental Information Association, New Orleans, Louisiana, March 25, 1997
Presenter, The University of Texas Medical Branch, Galveston, Texas, April 18, 1997
Member, University of Texas Telehealth Committee, 1997-2002
Presenter, ACOEM, AOHe Session, Orlando, Florida, MclY 12, 1997
Regent, Occupational Medicine, American College of Pre,ventive Medicine, 1997-1999
Presenter, Qingdao Municipal Hospital, Department of Radiology, June, 1997
 Presenter, Research in China, Directors Associates. Tyler, June, 1997
 Presenter and Session Co-Chair, Collegium Ramazzini meeting, Carpi, Italy October, 1997
 Presenter, Medical Education Grand Rounds, Mount Sinai School of Medicine, Nov.,1997, New
York, NY.
 Member, Shared Student Information Systems Committe,e, U.T. System, Austin, Texas, 1997·98.
 Member, Shared Administrative Support Systems Committee, U.T. System, Austin, Texas, 1997-
 1998
 Member, Texas Council for Agricultural Safety & Health 1997-Ghair-elect, 1997-99.
 Presenter, "Children in the Workplace", presented at the Annual Ain Shams University Institute of
 Child Studies Conference, Cairo, Egypt, March, 1998.
 Presenter, Texas Academy of Mathematics and Science, University of North Texas, Denton,
 "Medical Sleuthing: Environmental Toxins", 4/13/98
 Grand Rounds Presenter, Presbyterian Hospital of Dallas" Environmental Toxins, April 29, 1998
 Member, Intemational Scientific Advisory Committee Third Intemational Conference on
 Environmental Mutagens in Human Populations, 1998
 Member, Telehealth Steering Committee Working Group on Education/Community Networksl
 Libraries, Telecommunications Infrastructure Fund Board, Austin, TX 1998-1999
 Presenter, AHEC-SW, Texarkana, Arkansas Conference on Respiratory Therapy. "Occupational
 Lung Cancer" and "Occupational and Environmental Lung Disease Case Studies", Texarkana,
 Arkansas 8/28/98.
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CONSULTANCIES AND RELATED ACTIVITIES (Continued)

Presentation, First Annual TCASH Scientific Conference, Fort Worth, Texas, 10/16/98.
Presentation on Childhood Agricultural Hazards at Collegium Ramazzini meeting, Carpi, Italy,
10/25/98.
Consultant, Medical Communities Project, Environmentall Protection Agency, Washington, D.C.,
1998-99.
Two presentations for the Third Intemational Conference on Environmental Mutagens in Human
Populations, November-December, 1998, Thailand.
Presenter, TAMS Senior Seminar, 2/1/99.
Presenter, East Texas Council on World Affairs, Tyler, TE~xas, 2/8/99.
Presenter, Prevention '99, ACPM Session on Preventive Medicine, 3/20/99.
Presenter, Texas Occupational Medicine Association meeting, Dallas, Texas, 5/7/99.
Panelist, East Texas Minority Health Network ConferencE~, Tyler, Texas, 6/3/99.
Presenter, l'h International Conference of the Israel Ecolo!~y Society, Jerusalem, Israel, June, 1999.
Presenter, UT Houston School of Public Health Course on Occupational Medicine for the Primary
Care Practitioner, Houston, 9/25/99.
Invited Presenter, Committee on Work and Industry, Chamber of Deputies, Brasilia, Brazil, 9/29/99.
Presenter and Session Chair, Collegium Ramazzini, Oct. 1999, Carpi, Italy.
Chair, International Scientific Advisory Committee of the Selikoff Center, Ra'anana, Israel,1999-
Presenter, Texas Academy of Mathematics and Science, Denton, 1/31/00.
Presenter, Pediatrics Grand Rounds, UTHCT, Tyler, Texas, 2/17/00.
Consultant, Qingdao Centers for Disease Control and Pmvention, Qingdao, PRC, 2000-
Session Chair, NYCASH Meeting on Agricultural Safety cmd Health, Cooperstown, 2000.
Site Visitor, NIEHS, 2000.
Guest Consultant, Annual Review of Public Health, Palo Alto, 2000.
Award Recipient. Guest Speaker, ACCME, Chicago, 2000.
Presenter: TMA CME Conference, June, 2000.
Presenter and Conference Planning Committee: Intemational Cancer Conference, Grand Rapids,
MI,9/2000.
Presenter: Pulmonary Program, UTHCT, 9/2000.
Presenter: Collegium Ramazzini, Carpi, Italy 10/2000.
Presenter, Session Chair and Conference Planning C4:>mmittee: ISPO Conference Geneva,
November, 2000.
Presenter and Session Chair: Indian Association of Occupational Health Conference, New Dehli,
2/01.
Presenter: Industrial Toxicology Research Center, Lucknow, India, 2/01.
Member, Editorial Board, Annual Review of Public Health, 2001 - 2005.
 Presenter: Allen Cohen Memorial Lecture, Tyler, Texas, 4/5/01.
 Presenter: UTHCT Grand Rounds, 4/6/01.
 Presenter: Grand Rounds, Family Practice, UTMB, Galveston, Texas 7/11/01.
 Presenter: UTHSC, Grand Rounds, Internal Medicine, Fort Worth, Texas 7/8/01.
 Member: Physicians Panel Member, State Claims Assis.tance Program, Department of Energy,
 10/01 -2004.
 Medical Director: Amarillo Health Council, 2001 -
 Co-Moderator, Institute of Water Quality, ACPM Meeting, San Antonio, 1X, 2/02.
 Presenter, East Texas Council on World Affairs, 3/02.
 Presenter: Scientific Program, Alumni Day (30 th class ye.ar representative), Mount Sinai Medical
 Center, 4/6/02.
 Presenter: TAMS Program UNT, Denton, Texas 4/8/02.
 Presenter: University of Texas at Tyler School of Nursing, 4/15/02.
 Presenter and Chair: New York Academy of Sciences, Mesothelioma Program, 4/25/02.
 Presenter: Occupational Medicine Program, UTHCT, 6/02.
 Presenter, UTMB, Occupational Medicine Residency Program, 7/02.
 Session Chair, Collegium Ramazzini Meeting, Bologna, Italy, 10/02.
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CONSULTANCIES AND RELATED ACTIVITIES (Continued)

Member, State Advisory Committee on Environmental HE!alth Tracking, PA 11/02 -
Member, Advisory Committee, Dept. of Env. Protection, Harrisburg, PA 2003-
Drexel University SESEPS Seminar 12/02
Drexel University SPH Grand Rounds 12/02
Air Force School of Aerospace Medicine 02/03
GI Conference, Drexel 02/03
Pulmonary Conference, Drexel 02/03, 05/03
Presenter: University of Pennsylvania Residency Program in Occupational Medicine, 03/03, 3/05,
            4/06
George Washington University Seminar, 04/03
Marcus Key Lecturer, TOMA Meeting 04/03
Consultant, Waste Management Corporation 04/03-
Presenter: ACPM Water Conference, Washington, DC, 06/03
Presenter: UTMB, Galveston, TX 07/03
Presenter: Fox Chase Cancer Center, 09/16/03
Presenter: APHA, 11/03, San Francisco
Moderator: ACPM National Teleconference on Pediatric Environmental Health, 5/04
Member: Environ. Justice Advisory Comm., Dept. of Environ. Protection, Harrisburg, PA, 2004-
2008, Chair - 2006 -
Presenter: Harris Martin Conference, San Francisco - Manganese, 6/15/04
Presenter: UTHCT - Occupational Lung Disease 6/26/04
Presenter: UTMB - Occupational Cancers, Occupational Lung Disease, The History of
Occupational Medicine 7/7104, 7/5/06
Presenter: Graduate School of Public Health, Pittsburgh, Asthma Seminar 8/1 0/04
Presenter:· Drexel SPH - Agriculture and Public Health, Faculty Seminar 8/13/04
Presenter: PCIEP Program 9/04
Session Chair and Discussant: Olin Seminar on Environ. Justice, Drexel University, 10/04
Presenter: Collegium Ramazzini Annual meeting, Carpi, Italy, 10/04
Presenter: UCLA MDIPhD Program, 11/04
Presenter: Qingdao Centers for Disease Control and Prelvention, Qingdao, P.R. China
Presenter: Asbestos Conference, Tokyo, Japan, 11/04
Presenter: Pulmonary Conference, Hahnemann Hospital, 1/05
Member: Institute of Medicine Committee, Gulf War and Health, 2005-2006
Presenter: Post Graduate Oee. Med. Programs, New Delhi, India 3-4/05, 5106
Presenter: Department of Labor Conference, Washington, DC 4/05
Presenter: Sappington Lecture, ACOEM, Washington, DC, 05/05
Presenter: US School of Aerospace Medicine, San Antonio, lX, 05/05, 06/06
Presenter: Nahariya Hospital, Israel, Lecture on asbesto~s 05/05
Presenter: University of Paris France, 611/05 Lectures on occupational cancers and asbestos
Presenter: AAMC Meeting on MD/MPH Programs, Chic81go, IL, 6/27/05
Presenter: UTMB, Galveston TX, 715 and 7/6/05 (Grand Rounds, Residency Program)
Session Chair: Collegium Ramazzini Conference, Living in a Chemical World, Bentivolgio, Italy
               9/19/05
Presenter: Institute of Public Health, lasi, Romania, Keyf'lote Address 09/22/05, Address
               9123/05
Presenter: 14th Brazilian Congress of Toxicology, Recife, Brazil 10/10/05
Presenter: Beijing Forum (2005) Beijing, P.R.C. 11/19105
Member:    ACGME Appeals Panel for Preventive Medicine, 2006 - 2012
Presenter: EPA Public Hearing on Air Pollution Criteria, Representing ATS, 3/8/06
Presenter: UMDNJ, 03/06
Session Chair: Asbestos Program, ADAO, 4/1/06
Member: Delaware River Basin Commission, Toxies Advisory Committee 2006-2009.
Presenter: Maulana Azad Medical College, New Delhi, 05/06
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CONSULTANCIES AND RELATED ACTIVITIES (Continued)

Presenter: Occupational and Environmental Medical Association of Canada, Toronto, CBOM
Memorial Lecture 06/06
Presenter: Summer Public Health Institute, lasi, Homania 7/06
Session Chair and Presenter: Asian Asbestos Conference, Bangkok, Thailand 7/06
Presenter: Business Exchange Breakfast, Philadelphia, 10/17/06
Session Chair and Presenter: Collegium Ramazzini Meeting, Capri, Italy 10/29/06
Presenter: PCOEM, 11/06
Presenter: Asbestos Conference, New Delhi, India, 12/06 and Continuing
Education Conference, New Delhi, 12/06
Presenter: State University of New York at Stony Brook, Occupational Lung
Diseases, 12/06
Presenter: PCOM, Intemal Medicine Group, 1/07
Participant: AAD Program, Drexel University Schlool of Public Health, 3/31 -
4/1/07
Lecture: Physician Assistant Course, Drexel 04/07
Lecture: ACOEM Program, New Jersey, Asbestos, 5/1/07
Presenter: Environmental Mutagenesis Conference, Turkey, OS/22/07
Presenter: Drexel School of Public Health Program, Asbestos, 6/1/07
Presenter: Occupational Medicine Course, Maulana Azad Medical College, New
Delhi, India, 06/07
Presenter: UTMB, Galveston, 7/07
Member and Chair: Ad hoc Committee to assess Liver Cancer in Bexar County
Texas,                            San Antonio, 08/07- 12/07.
Presenter: SUNY Stony Brook, 10/07
Presenter:     Collegium Ramazzini Meeting, Princess Chulaborn Institute, Bangkok,
Thailand, 12/07
Presenter: Integral University, Lucknow, India, 12/07
Presenter: Sanjay Ghandi Institute, Lucknow, Indial, 12/07
Presenter: Joint Labor-Management Safety and Helalth Meeting, Vishakhaptnam, India,
12/07
Presenter: Centre for Occupational and EnvironmEmtal Health, Maulana Azad Medical
College,
            Delhi, India, 12/07
Presenter: Department of Medicine CME Program, Maulana Azad Medical College, Delhi,
            India, 12/07
Session Chair: 41 st Annual Meeting of the Indian College of Allergy, Asthma and Applied
                 Immunology, Delhi, India, 12/07
Presenter: ToxicLinks Meeting, Delhi, India, 12/07
Presenter: Philadelphia Zoning Code Commission, 01/08
Member and Chair: Advisory Committee, Mountain and Plains ERe, Denver, CO, 1/08-
Speaker: George Washington University School of Public Health, Washington, DC,
02/08                                                               .
Lecturer: U.S. Air Force School of Aerospace Medicine, San Antonio, TX, 03/08
Grant Reviewer: NIOSH Agricultural Center Program, 3/08.
Session Chair: ADAO 4th Annual Conference, Detroit, MI, 3/08
Lecturer: Physician Assistants Program, Drexel University, 04/08
Lecturer: Maulana Azad Medical College, Delhi, India 05/08
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Presenter: National Conference on Climate ChangE!, Delhi, India 05/08
            st
Presenter: 1 International Conference on MesothE!lioma, Sao Paulo, Brazil 06/08
CONSULTANCIES AND RELATED ACTIVITIES (ContinlJed)

Member: City of Philadelphia Air Pollution Control Board, 06/08-
Lecturer: UTMB, Galveston, TX 07/08
Lecturer: Qingdao Centers for Disease Control and Prevention, Qingdao, PRC 8/08
Member: Board of Scientific Counselors CDC Centler for Environmental Health/ATSDR,
           7/08 -6/12
Member: Scientific Review Board, Peking Medical University 08/08
Presenter: ACPM Program on Indoor Air Pollution 08/08
Presenter: Inhaled Particles X Meeting, Sheffield, England 09/08
Presenter: FASLI Occupational Medicine Program, Mumbia, India 09/08
Presenter: ESIC Occupational Medicine Program, Mumbia, India 09/08
Invited Lecturer: University of Brescia, Italy 10/08

Numerous academic committees and governing body activities. Other presentations to
professional and non professional groups.

Planned Presentations
Lecturer: Drexel University College of Medicine, 11/08
Speaker: CR/Drexel meeting on Occupational and Environmental Health, Delhi,
India 01/09
Lecturer: Occupational Medicine Program, UMDNIJ, 3/09
Speaker: Occupational Medicine Program, Maulana Asad Medical College, Delhi,
          India 05/09
Lecturer: UTMB, Galveston, TX 08/09




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               BOOKS, REVIEWS, ~D CHAPTERS IN BOOKS

1.    Trump BF, McDowell EM, Barrett LA, Frank A, Harris C. Studies of Ultrastructure.
      Cytochemistry and Organ Culture of Human Brachial Epithelium. In Experimental
      Respiratory Carcinogenesis and Bioassays. New York: Springer-Verlag, 1974, p.
      548-563.

2.    Harris C, Autrup H, Van Haaften C, Connor R, FrankA, Barrett L, McDowell E, Trump B.
      Inhibition of Benzo(a)pyrene Binding to DNA in Cultured Human Bronchi. In Proc 3rd Int
      Symposium Cancer Detection and Prevention, Part I, Vol 2, Nieburgs H. (Ed).
      Amsterdam: Excerpta Medica, 1977, p. 1359-1364.

3.    Frank AL. Occupational Lung Cancer. In Pathogenesis and Therapy of Lung Cancer,
      Harris C. (Ed). New York: M. Dekker, Inc., 1978, p. 25-61.

4.    Frank AL. In Public Health and Preventive Medicine, 11th Edition, Last J. (Ed). New York:
      Appleton-Century-Crofts, 1980. a. Arsenic, p. 660-662; b. Antimony, p. 681; c. Thorium, p.
      681-682; d. Benzidine, The Napthylamines, and Miscellaneous Carcinogenic Compounds,
      p. 751-755; e. Non-Ionizing Radiation, p. 777-787.

5.    Frank AL. Cancer. New York: Matthew Bender and Co., 1978.

6.    Frank AL, Spigelman M. Lung Cancer. In Cancer. New York: Matthew Bender and Co.,
      1980, p. I-51.

7.    Frank AL. Asbestosis. New York: Matthew Be~nder and Co., 1980, p. 1-51.

8.    Frank AL. Definition of Preventive Medicine!. In Charting Graduate Education in
      Preventive Medicine, Byrd B. (Ed). Washington, DC: American College of Preventive
      Medicine, 1980, p. 7-8.

9.    Frank AL. Asbestos-Induced Changes in Hamster Trachea Organ Culture. In The
      In-Vitro Effects of Mineral Dusts. Brown R, et al. (Eds). London: Academic Press, 1980,
      p.235-240.

10.   Wade MJ, Lipkin LE, Stanton MF, Frank AL. P388D 1 In-Vitro Cytotoxicity as Applied to
      Asbestos and Other Minerals: Its Possible Relevance to Carcinogenicity. In The In-Vitro
      Effects of Mineral Dusts, Brown R, et al. (Eds). London: Academic Press, 1980, p.
      351-358.

11.   Frank AL. Health Effects of Fibers. National Academy of Sciences Report on Indoor Air
      Pollutions, Washington, DC, 1981.

12.   Frank AL. Occupational and Environmental Exposure. In An Introduction to Physical
      Diagnosis. Swartz M (Ed). New York: Raven Press, 1981, p. 303-311.

13.   Frank AL, Spigelman M. Blood-Related Malignancies. In Cancer. New York: Matthew
      Bender & Co., 1981, p. 1-123.

14.   Frank AL. The Hospital as an Environmental Health Resource. In Principles of Hospita/-
      Based Ambulatory Care, Pascarelli EF (Ed). New York: Appleton- Century- Crofts, 1982,
      p.309-314.



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BOOKS, REVIEWS, CHAPTERS IN BOOKS (continued)

15.    Frank AL, Spigelman M. Cancer of the Liver, Gall Bladder, and Bile Ducts. In Cancer.
       New York: Matthew Bender and Co., 1982, p.I-43.

16.    Frank AL, Spigelman M. Cancer of the Pancreas. In Cancer. New York: Matthew
       Bender and Co., 1982, p. 1-22.

17.    Frank AL. The Etiology and Epidemiology of Lung Cancer. Clin in Chest Med 3:219-228,
       1982.

18.    Frank AL. The Occupational History. In Environmental and Occupational Medicine, Rom
       W (Ed). Boston: Little, Brown, and Co., 1982, p. 21-26.

19.    Frank AL, Spigelman M. Cancers of the Digestive Tract. In Cancer. New York: Matthew
       Bender and Co., 1983, p. 1·-108.

20.    FrankAL, Spigelman M. Cancers of the Urinary System. In Cancer. New York: Matthew
       Bender and Co., 1983, p. 1-62.

21.    Frank AL, Spigelman M. Cancer of the Female Reproductive Organs. In Cancer. New
       York: Matthew Bender and Co. 1984, p. 1~0.

22.    Frank AL. Diethylstilbesterol. In Cancer. New York: Matthew Bender and Co., 1984, p.
       1-15.

23.    Frank AL, Spigelman M. Cancer of the Breast. In Cancer. New York: Matthew Bender
       and Co., 1984, p. 10051.

24.     FrankAL, Spigelman M. Cancer of the Head and Neck. In Cancer. New York: Matthew
        Bender and Co., 1984, p. 1-32.

25.     FrankAL, Spigelman M. Specific Cancers ofthl~ Head and Neck. In Cancer. New York:
        Matthew Bender and Co., 1985, p. 1-36.

26.     Frank AL, Spigelman M. Cancer of the Brain and Nervous System. In Cancer. New
        York: Matthew Bender and Co., 1985, p. 1-82.

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27.     Hubert, D., Frank, A., Igo, C. Environmental and agricultural literacy education.
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28.     Frank, AL, Gilmore, K., Hubert, D. Children's health and safety in the agricultural
        environment. Proceedings of the 7th International Conference of the Israel Society for
        Ecology and Environmental Quality Sciences, 1999.

29.     Frank, AL Ethical and practical aspects of human studies. 7th International Conference
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30.    Frank, AL. Synergistic Exposures. Conferencis on Impact of Biotechnology on Cancer
       Diagnostic and Prognostic Indicators, 2000. Can. Det. Prevo 24: (Supplement 2000) p.
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31.    Frank, AL, Li L, Cao W, Pang Z, Zhang Z, Zhang H. Radiographic evidence of asbestos
       disease in Chinese factory workers. Inhaled Particles IX, 2001.

32.     Frank, AL, Beaty R, Levin JL. Cigarette smoke as a cause of small irregular opacities on
        chest radiographs. Inhaled Particles IX, 2001.

33.    Frank, AL. The study of asbestos use in Chin,3; Challenges and opportunities. Global
       Asbestos Congress, 2004

34.     Frank, AL. Environment and Health. Beijing Forum 2005

35.     Frank, AL. Science for sale. Asia Asbestos meeting 2006

36.     Frank, AL. Prevention of Exposure to Hazardous Substances - Social and Ethical
        Issues. The 5th International Conference on Environmental Mutagens in Human
        Populations,2007. P.20.

37.     Frank, AL, Pang Z, Zhang H, Zhang Y. Mesothelioma Patterns in Qingdao, PRC, 2000-
        2007. Inhaled Particles X, Sheffield, England, 2008




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          Legal Cases with Deposition or Trial Appearance
                          by Arthur L. Frank, M.D.


(Please note: There has .been no systematic Irecording of legal activity by Dr.
Frank over the past years, especially not prior tlJ October, 1994 when he began
his current position at a new educational institution. The exact listing for the
cases has not been maintained. The list following is the best reconstruction
possible. Some appearances were via videotapE~.)


             Client Name or Looation                   Law Firm/Attorney

10/94        Asbestos in Bldng. Case                   Messerli & Kramer
             Minneapolis, MN (T)

10/94        12 PI cases, Asbestos                     Morris Chapman
             Steel Mill, IL (0)

11/94        Frank Dilorio, PI                         Mitchell Cohen
             Asbestos, PA (T)

12/94        Asbestos Case                             Greitzer and Locks
             Louisville, KY, PI (T)

1/95         PI Cases                                  Morris Chapman
             IL Steel Mill (T)

1/95         Mayo and Lonergan                         C. O'Donnell
             Asbestos PI Cases (D)

2/95          Yellow Creek Case                        Robert Reeves
              London, KY (T)

2/95          Hayes and Wheeler                        Kenneth Sales
              PI Cases (D)

3/95          Mustapick Case                           C. Hession
              PI Asbestos, NY, NY (D)

3/95          Mustapick Case                            Mitchell Cohen
              PI Asbestos, NY, NY (T)

3/95          Chicago Schools                           Marc Weingarten
              Litigation, Asbestos (0)
                                                                                   EXHIBIT
                                          1
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Date         Client Name or Location                  LawFirm/Attorney

3/95         Frank Griffith, PI Asbestos               Robert Reeves
             Lexington, KY (T)

3/95         John Butler, Sr., PI Asbestos             Steve Wilson
             Louisville, KY (T)

4/95         William Forbis                            Steve Wilson
             PI Asbestos (T)

4/95         George W. Davis                           Darrell Gossett
             PI Asbestos, Georgia (D)

4/95         Hopkins & Combs                           Steve Wilson
             PI Asbestos, KY (D)

4/95         Smith, Lonergan & Mayo                    Barbara Lane
             PI, Asbestos, GA (0)

5/95         Mustapick                                 C. Hession
             PI Asbestos (D)

5/95         Vernon Sexton                             Steve Wilson
             PI Asbestos (0)

6/95         Patterson                                 Mitchell Cohen
             PI Asbestos (0)

7/95         M. L. Mathes                              C. O'Donnell
             PI Asbestos (D)

7/95         Dayhoit Community Case, KY                Donna Holt
             Chemical Exposure (0)

8/95         Jack Henderson, PI Case                   Jane Koprucki
             Worker's Comp (D)

8/95         Edgar Wommack                             Daniel O'Connell
             PI Asbestos, GA (0)

8/95          Block 145 vs. Grace                       Geoffrey Harrison
              Bldg. Asbestos (D)

9/95         Asbestos Bldg. Case                        Lawrence Flatley
             Kentucky vs. Grace (D)



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Date          Client Name or Location                 LawFirm/Attomey

9/95          Kenneth Bearden                         Roger Lane
              PI Asbestos, GA (D)

9/95          S. Wright (D)                           John E. Suthers

10/95         TransAmerica Bldg. Case                 Dori Kuchinski
              Asbestos, Grace (D)

11/95         General Reinsurance Case                Gita Rothschild
              Asbestos (D)

11/95         David Yarbro vs. Kimberly Clark         B.J.Wade
              Asbestos PI (0)

1/96          Thad Lee, PI                            Roger Lane
3/96          Asbestos, GA (T)

1/96          Wommack, PI Asbestos, GA (T)            Barbara Lane

2/96          Anderson Case, PI Asbestos               Peter Enslein
              Washington, D.C. (0)

2/96          Asbestos Case, Cincinnati PI (T)         Mitchell Cohen

6/96          M. Harrill Case, PI Asbestos (0)         C. O'Donnell

6/96          J. Robertson, Asbestos                   Lane & Gossett
              Atlanta, GA (T)

6/96          Asbestos (T)                             Segal, Sales. et al

7/96          Asman, Asbestos (T)                      Greitzer & Locks

9/96          NCR vs. U. S. Mineral Products Co.       P. Slater
              Bldg. Asbestos Case (D)

9/96          Deposition - 9 Asbestos Cases            C. O'Donnell

9/96          Steed Case, Asbestos PI                  B. Bailey
              Texas (T)

10/96         North Dakota Case                        D. Speights
              Bldg. Asbestos (0)




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Date         Client Name or Location                   LawFirm/Attomey

10/96        S. Dehring Case, Asbestos, PI             M. Brickman
             North Carolina (T)

10/96        Port Authority Case, Bldg.                C. Hession
             Asbestos (0)

10/96        Forbis, et al Asbestos PI (T)             S. Wilson

10/96         McCarty vs. Lincoln Electric, et al      R. McBride
              Manganese Poisoning (D)

11/96        Gilbreath and Weems                       R. Arentson
             Asbestos PI (0)

12/96         Pfleiger Case, Asbestos PI               M. Cohen
              Penn. (T)

1/97          A. Murray Case Asbestos PI (T)           Lane & Gossett

3/97          Asbestos PI Case, New York City (T)      M. Cohen

3/97          S. Minardi, Asbestos (D)                 Greenberg, Troger, et al

3/97          J. Hardy (0)                              Sheer & Gardner
              Asbestos, P.I

3/97          Rowell, (D, T)                            Lane & Gossett
              Asbestos, P.L, GA

3/97          R. Bregel, R. Cowan, Asbestos (0)         Greitzer & Locks

3/97          Nance (0)                                 J. M. Riley

4/97          Cangiane Case, Asbestos PI                M. Cohen
              New York (0, T)

4/97          Worker's Comp (0)                         Michael & Jones

4/97          O. Rowell, Asbestos (D, T)                Lane & Gossett

4/97          Tarrants Case, Asbestos (T)               Segal, Sales, et al

8/97          W. Herrin, Asbestos (T)                   Lane & Gossett




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Date          Client Name or Location                     LawFirm/Attomev

8/97          J. Runnels (D)                              Chopin, Wager, Cole
              Welding Fumes P.I., Tx

9/97         V. Holland, Asbestos (D, T)                  Jordan & O'Donald
                                                          and Lane & Gossett

10/97         S. Griffith, Manganese (D, T)               Casino Vaughn

10/97         R. Jones, Asbestos (D, T)                   Lane & Gossett

11/97         L. Keel, Asbestos (D, T)                   . Lane & Gossett

11/97         E. Lopez, Asbestos (D)                      Luttrell, Williams, et al

11/97         3 Cases, Asbestos (T)                       Segal, Sales, et al

11/97         Trujillo, Sales, Asbestos (D)               John Roven & Assoc.

12/97         F. Dirksen, Asbestos (T)                    Segal, Sales, etc.
              P.I., GA

12/97         Perkins, et ai, Asbestos P.1. (D)           Herren & Adams

12/97         Minneapolis, MN                             Doherty, Rumble &
              Asbestos Bldg. (D, T)                       Butler

1/98          Various, Asbestos, P.I., GA                 Jordan & O'Donnell

2/98          Aldrick, Harris, Lester                      Jordan & O'Donnell
              Asbestos (D)

2/98          E. Owens, Asbestos (0)                       Middleton, Mixson, et al

2/98          C. Strickland, Asbestos P.L, GA (D)          Jordan & O'Donnell

3/98          McGowen, Zorn, Brown                         D. O'Connell & Assoc.
              Asbestos (D)

4/98          Various (D)                                  D. J. O'Donnell
              Asbestos, P.I., GA

5/98          G. Cole, Asbestos P.1. (T)                   Greitzer & Locks

5/98          Zorn, et ai, Asbestos (T)                    Lane & Gossett



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Date         Client Name or Location                   LawFirm/Attomev

6/98         Boyd County Cases, KY                     Sutter & Enslein
             Asbestos P.1. (T)

6/98         Hammer (0)                                D. Morris
             Asbestos, P.I., FL

7/98         C. Strickland, Asbestos (T)               Lane & Gossett

7/98          I. Hammer, Asbestos (D)                  Wicker, Smith, et al

7/98         Walker, Manganese (0)                     Casino Vaughn

7/98          I. Hammer, Asbestos                      Reed Bryant
              Ft. Lauderdale (T)

7/98          R. Wiggington, Asbestos (T)              Segal, Sales, et al

7/98          Eaves (D)                                Goodwin & Carlton

8/98          P. Lockaby, Asbestos (D)                 O. O'Connell & Assoc.

8/98          W. Wood (0)                               Bryan Cove Law Firm
              Asbestos, P.I., MO

8/98          S. Slates, Asbestos (0)                   Tydings & Rosenberg

9/98          W. Wood, Asbestos (T)                     John Roven & Assoc.

9/98          P. Lockaby, Asbestos (T)                 . Lane & Gossett

10/98         3 Cases, Asbestos (D, T)                  Lane & Gossett

10/98         2 Cases, Asbestos (0)                     Lane & Gossett

10/98         Various (D)                               D. Mitchell
              Asbestos, P.1.

10/98         Various (0)                               Jordan & O'Donnell
              Asbestos, P.!., GA

10/98         Various (0, T)                            Lane & Gossett
              Asbestos, P.!., GA




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Date         Client Name or Location                  Law Firm/Attorney

10/98        KY Case(D)                               R. Reeves

10/98        (D)                                      S. Glover

11/98        (D)                                      K. Colbert

11/98        Wosk (D, T)                              Greitzer & Locks
             Asbestos, P.L, PA

12/98        Buehner (D)                              J. Scharon

1/99         Sowell (0)                               Jordan & O'Donnell
             Asbestos, P.L, GA

2/99         Townes (0)                               Jordan & O'Donnell
             Asbestos, P.L, GA

4/99         Halfacre (0)                             P. Bell
             MN Exposure

5/99         Pransky (D)                              Church & Houff
             Asbestos, P.I., MO

5/99         Various (D, T)                           Lane & Gossett
             Asbestos, P.1.

5/99         Townes (0, T)                            Lane & Gossett
             Asbestos, P.L, GA

6/99         Rozell (0)                               R.Cook
             Asbestos, P.L, TX

6/99         Various (0)                              J. Satterley
             Asbestos, P.I., KY

7/99          Pransky (T)                             Greitzer & Locks
              Asbestos, P.L, MO

8/99          Forres (T)                               R. Poole
              Firefighter Lung Cancer
              San Antonio, Texas

9/99          Lone Star Steel Cases (0)                Nix
              Asbestos, Silica



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9199          Walker, et. aI., P.1. (D)               Cascino Vaughan
              Manganese

10/99         Bernhardt (T)                           Greitzer & Locks
              Asbestos, P.L, PA

10/99         R. Boren (0)                            C. R. Zwart
              Chemical Exposure, P.!., NB

12/99         Tidwell (0, T)                          Greitzer & Locks
              Asbestos, P.!., KY

12/99         Preston (T)                             J Satterley
                                                        0




              Asbestos, Po!', KY

12/99         Walker (T)                              Cascino Vaughn
              Manganese

2/00          Nelson, Browning (0)                    Ness, Motley
              Asbestos, P.!., TX

2/00          Hanks (0)                               W.T. Causby
              Asbestos PoL,

2/00          Various Cases (0)                        Jordan & Bristol
              Asbestos, P.1.

3/00          Ballard (D)                              A. Parnell
              Asbestos, Pol.

3/00          Ballard (T)                              J Satterley
                                                            0




3/00          Boren (T)                                Richard Dinsmore

4/00          Griffin                                  Jordan & O'Donnell
              Asbestos (P, I)

5/00          Hutcheson (0, T)                         The Simmons Firm

5/00          Taylor Jordan (0)                        Cook, Doyle & Bradshaw

6/00          Marion Fox (D)                           Smith, Helms, Mulliss &
                                                       Moore

6/00          Minzenberger (D)                         Jordan & O'Donnell



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6/00          Mueth, Wright, Smith (D)                The Simmons Firm

8/1/00        Ward, Barnes (D)                        Lane & Gossett

8/24/00       Courson (D) (T)                         Cook, Doyle & Bradshaw

8/29/00       Kerhin (D)                              Nolan, Plumhoff &
                                                      Williams

9/20/00       Boulden (D)                             Taylor, Davis & Ernster

11/20/00      Migl (D)                                Cook, Doyle & Bradshaw
              Bogan (D)

1/5/01        Whitesell (VD)                          Barbara Kay Lane

1/16 - 17/01 Fletcher (0)                             Crowley & Douglas
             Ross (D)
             Wallace (D)

1/19/01       Williams (0)                            Wellborn, Houston,
                                                      Ad~son, Mann,Sad~r&
                                                      Hill

1/26/01        Fontenot (D)                           Cook, Doyle & Bradshaw

2/13/01        Horton (D)                             Willman & Arnold

2/27/01       Weaver (D)                              Jordan & O'Donnell



4/12/01        Joubert (D)                            Cook, Doyle & Bradshaw

4/17/01        Jones (D)                              Hawkins & Parnell

4/18/01        Padalecki (0)                          Cook, Doyle & Bradshaw

4/18 - 19/01 Roth (T)                                  Cooney & Cooney

4/30/01        Dawson (D)                              Ness, Motley, Loadholt,
                                                       Richardson & Pool

5/4/01         Brown (D)                               Huddleston, Bolen, Beatty,
               Barton (D)                              Porter & Copen




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5114101        Boyd County Cases (T)                     The Sutter Law Firm

5/17/01       Jones, et al (D)                           Jordan & O'Donnell

5/22/01       Jones, O'Steen (T)                         Lane & Gossett

6/11/01        Carter, Dean, Logan, Martin               Wellborn, Houston,
               Searcy, Rust, Albright, Holden,           Adkison, Mann, Sadler &
               Mackey (D)                                Hill

6/15/01        Robinson (D)                              Hawkins & Parnell

7/2/01         Robinson (D)                              Barbara Lane

7/3/01         May; Jeffords                             Lane & Gossett

8/16/01        Hess; Miller; Poe (D)                     Burns, White & Hickton

8/17/01        Abington (D)                              Glassman, Edwards,
                                                         Wade & Wyatt

8/29/01        Lewis; Brown; Dingess; Hall; Gillian (D) Sutter Law Firm

10/31/01       Hutchins (D)                              Wallace & Graham

1/17/02        Evans (D)                                 Sales, Tillman & Wallbaum

2/5/02         Barletta (D)                               Hendler Law Firm

2/11/02        B~nevue; Hammons; Burgett;                 Simmons
               Meyer; Scharf

2/28/02        Edwardsville Trial                         Simmons

3/8/02         Morris; Miller (D)                         Wallace & Graham

3/14/02        16 March Cases (D)                         Simmons

3/18/02        Morris (0)                                 Simmons

3/18/02        Anniston, Alabama (T)                      Kasowitz, Benson, Torres
                                                          & Friedman

4/4/02         Drew (D)                                   Hall, Bloch, Garland,
                                                          Meyer




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4116102      Baar, III (T)                              Cooney & Conway

4/23/02      Elam                                       Cascino & Vaughan

6/6102       Highsmith (T)                              Lane & Gossett

7/10102      Anita G. Jones (0)                         Peter T. Enslein
             Asbestos PI

8/07/02      Robert Earl Williams(O)                    The Simmons Firm

8/20102      James Leroy Wallace (0)                    Wallace and Graham

9/06/02      George F. Brannon (0)                      Thomas Clare

09/4-5/02    Mary Samsel (T)                            Randall Bono

9/11-12/02   HawleY,Fisher, Sims, Orlander, McDale Randall Bono
             Trocki (T)

9/13/0.23    Celanese (0)                               Thomas G. Tidewell

9/23/02      Leroy Colbert, Jr.(O)                      Ed Pauley

10/3/02      Leo J, Scheurich (0)                        Stephen Bowers

10/3/02      Leo J. Scheurich (T)                        Ken Sales

10/10-17/02 Seaford, Thomas (0)                          Christopher Hickey

10/18/02     Martin Rogness (0)                          Raymond H. Modesitt.

10/30/02     Four Cases (0)                              Christopher Mauriello

11/21-22/02 Caudillo & Hernanedez (0)                    Gary DiMuzio

11/27/02     J.Avila, J. Baldi, L. Sayers (0)            William R. Fahey

12/04/02     Gillespie, Arena, Russell (T)               Elliott Present

12/09/02     A.Baumann,G.Bates, R.Block (0)              William R. Fahey

12/17/02     Jerome Klepper          (0)                 Andrew O'Brien

12/18/02     Zehner & Turner         (D)                 Robert McCoy




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01/06/03     G. Koontz (D)                            Doug B. King

01/3-6/03    Driver, Bruno, Pierce (T)                Mitchell Cohen

01/8/03      Welding case (D)                         Robert G. McCoy

01/15103     J. Roseman (T)                           Elliott Present

01/14/03     Joseph Roseman        (D)                Michael Bergin

01/17/03     Pierce & Strasser     (D)                William G. Fahey

01/27/03     Willie Lee Robinson (T)                  Barbara Lane

01/31/03     James Freezor (D)                        Mark R. Kurtz

02/06/03     J.C. Taylor (0)                          Reid Acree

02/07/03     8 Asbestos Cases & Whittington Case (0) Randy Bono

02/11/03     Harold L. Cougenour (D)                  Wallace & Graham

02/10-12/03 William Parks (0)                         Elliott Present

02/25/03     Herbert Dort (D)                         Michelle Galindo

02/27/03     William Parks                            Elliott Present

03/3-4/03    Turner (T)                               Robert McCoy

03/13/03     Weyerhauser (0)                          Mona Wallace

03/19/03     Roby Wittington (0)                      Randy Bono

03/21/03     John Richards (0)                        Megan Zeregan

04/07/03     Charles Deese (D)                        Reid Acree

04/08/03     P. Thompson & J. Andrees (0)              Lynn Bradshaw

04/28/03     Cornelius Alexander (0)                  Jill N. Calvert

04/29/03     Jasper Galm (0)                           Elliot Present

05/05/03     Lear & Tison, Stewart (0)                 Roger Lane




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05/06/03     Hill et (0)                               O. Scott Carlile

05/0803'     Roberta Ochs (0)                          James Long

05/12/03     Rolf Lindstrom (0)                        Robert Ellenstein

05/16/03     6 cases        (0)                        William R. Fahey

05/27/03     Gavrock & Steel (0)                       Newton Anderson

OS/29/03     Kenneth Madden (0)                        Gary DiMuzio

06/02/03     Salvi & Carlson (0)                       Michael B. Leh

06/12/03     M. Gavrock & Wm. Steele (0)               B. J Wade

06/18/03     6 Cases        (0)                        Ted Gianaris

07/02/03     Hawkins, Canatella, Baker (0)             Matthew Kieley

07/9-10/03   Ward case (0)                             Andrew O'Brien

07/11/03     Dixon & Tarranova (0)                     Charles Heard

07/14-15/03 Leggett case (T)                           Chip Hickey

07/18/03     Fanese case (D)                           Alan Reich

07/22/03     Jenkins case (0)                          Shawn Parrish

07/30/03     Caffey et al   (D)                        R. Brandon

08/06/03     Kelley & Richter (0)                      Ted Gianaris

08/11-12/03 Asbestos case (T)                          Christian Hartley

08/13/03     9 Asbestos Cases       (0)                William Fahey

08/14-15/03 Varnadore and Williamson (0)                Roger Lane

09/09/03     Mrs. Benioist (0)                         Andrew O'Brien

09/09/03     Norrise case (0)                           Joe Satterley

09/11/03     Jones & Osteen (0)                         Roger Lane




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09/11-12/03 9 Asbestos cases (D)                        Gary DiMuzio

09/15/03     Lavi Booth        (D)                      M. Agelides

09/16/03     2 Asbestos Cases (D)                       Christian Hartley

09/19/03     Pennington case         (D)                A. V. Conway

09/30103     William Jackson (T)                        William Fahey

10/07/03     Norris case       (D)                      Robert Paul

10/14/03     Elam case (T)                              Robert McCoy

10/15/03     Hargrove case (D)                          Wayne Lieg

10/16/03     Norris case (T)                            Joe Satterley

10/17/03     Bell et all & Stephens (D)                 Gary DiMuzio

11/04/03     Feezor      (D)                            Joe Satterley

11/10103     Ott case (D)                               Doug King

11/25/03     Szabo & Ingraham (D)                       Christian Hartley

12/08/03     Mutiple Asbestos cases (D)                 William Fahey

12/16103     Quareles case (D)                          Gary DiMuzio

12/17/03     Emrich case (D)                             Don Migliori

12123/03     Edwin case (D)                              Peter G. Bell

12123/03     Billy Meadows (D)                           C. Hartley

01106/04     Troy Hickox (D)                             Roger Lane

01106/04     Rolf Lindstrom (D)                          Donald Krispin

01/07/04     Hill ... et al (D)                          D. Scott

01/08104     Multiple Asbestos cases (D)                 Ted Gianaris

01/22/04     Easton case (D)                             Robert Paul




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01/22/04     Smith, Trone, Harris (D)                        Parker, Dumler

01/28/04     Clark... et al               (D)                DeHay & Elliston

02/03/04     Eaton & Munro                (D)                Alan Reich

02/25/04     Lindstrom case               (T)                Donald A. Krispin

03/05/04     Thomas Lafferty              (D)                B. J. Wade

03/08/04     Munro... case                (D)                Douglas B. King

03/08/04     Petruzzi case                (D)                Kevin Knight

03/11/04     Eaton & Petruzzi             (D)                Robert Paul

03/30/04     Jimmie Mills           (D)                      Russell Cook

04/01/04     Multiple Asbestos cases (D)                     Ted N. Gianaris

04/05/04     J. D. Roberts (D)                               Gary DiMuzio

04/14/04     Asbestos Case (T)                               Roger Lane

04/15/04     Roy Brem         (D)                            Michael Bilbrey

04/22/04     Courson case (0)                                 Russell Cook

04/28/04     Stegemoller case (D)                             Doug King

04/29/04     King case (0)                                    James A. Snowden

04/30/04     Carlisle case (0)                                A. Timothy Jones

05/24/04     Egizi    (D)                                     Martin,Bank, Pond, etc.

05/25/04     Bob Brown (0)                                    Virginia Giokaris

05/28/04     Mutiple Asbestos cases (0)                       M. Keiley

06/09/04     L. Franklin (0)                                  Wade Mitchell

06/18/04     Valentine         (D)                            Joe Satterley

07/01/04     Multiple Asbestos cases (D)                      Ted Gianaris

07/13/04     M. Gussoff (T)                                   Michael Leh


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08/03/04     Multiple asbestos cases    (D)            William Fahey

08/16/04     Mclean & Little (0)                       R. Meriwether

08/16/04     Multiple asbestos cases (D)               William Fahey

08/17/04     Samuel Lewin (0)                          D. Krispin

08/19/04     Charles Brewster (D)                      Joseph Satterley

08/23/04     Multiple asbestos cases (0)               William Fahey

08/27/04     Multiple asbestos cases (T)               Gary DiMuzio

08/30/04     Multiple asbestos cases (0)               William Fahey

09/30/04     Williams and others         (0)           Jackson Kennedy

10/07/04     Landau (0)                                 Jeffrey L. Pettit

10/07/04     Landau    (0)                              George Kiser

10/12/04     Mr. Basciano (D)                           Mitchell Cohen
             (Benzene PI Workers Comp case)



10/19/04     Jeffrey Marco (0)                          Bartholomew Baumstark

10/19/04     Luke Lindau (0)                            Michael Bilbrey

10/26/04     Multiple Asbestos cases (0)                M. Angelides

11/23/04     Charles Logsdon (0)                        J. Robert Shelton

11/30/04     Frank Dean (0)                             Mike Runyan

12/01/04     Dorothy Hutchins (D)                       Mott McDonald

12/20/04     Multiple asbestos cases (0)                O. Scott Carlile

01/07/05     Volluz & Walsh ....cases (D)               Bartholomew Baumstark


01/27/05     Karl C. Bowles (D)                         Joseph Satterley

02/10105     Multiple asbestos cases (0)               . Michael Bilbrey



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03/02/05     Dennis Serbin (Court AppearancE~)            Marie Terpolilli

03/07/05     Cook & Flax (D)                              Mark Dumler

03/11/05     John F. Broyles (0)                          Lou Thomas-Black

03/17/05     Luis Vega (0)                                J. Katz

03/28/05     Knoth      case   (0)                        Joe Satterley

04/06/05     Baron      case   (D)                         R. McCoy

04/12/05     Multiple     cases (D)                        Michael Bilbrey

04/18/05     Dexter & Edmonds (0)                          R. Shelton

05/09/05     Sarah Groff (0)                               William Fahey

05/10/05     For trial appearance (0)                      C. Hartley

05/17/05     Jones, etalcases         (0)                  M. Edmonds

05/17/05     Court Appearance (C)                          Joseph Satterley

OS/20/05     Agner/Hutchins ... et al (T)                  M. Wallace

06/01/05     Baren ... case (0)                            Robert McCoy

06/13/05     Trial appearance          (T)                 C. Hartley

06/21/05     Briggs     case (0)                           Lonnie Johnson

06/21/05     Sholar      case (D)                          Knight S. Anderson

06/21/05     Munro       case (0)                          Edward Ha rney

07/01/05     M. Martin (0)                                 Mike Bergin

07/12/05     Curtis Lightsey         (0)                   a.Harton

08/03/05     Multiple....cases        (0)                  Steve Parrott

08/05/05     Massey Miller (0)                             B.J. Wade

08/15/05      Curtis Lightsey (0)                          Roger Lane



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08/18/05     McDowell. .. case (D)                      C. Hartley

08/22/05     Jerry M. Bryant (D)                        Russell Cook

08/23/05     Baron ... case (D)                          Robert McCoy

08/26/05     Poindexter... case (D)                      David Palik

09/09/05     Michael Haussmann (D)                      Alfred J. Carlson

09/15/05     Adell Rockmore (D)                          D. Scott Carlile

09/26/05     Madison County Case (D)                     Charles Hartley

10106/05     Adell Rockmore        (D)                   D. Scott Carlile

10/11/05     Harris   case (D)                           Roger Lane

11/20/05     Daubert case (T)                            Ted Gianaris

10/21/05     .Madison County ... case (D)                Charles Hartley

10/27/05     Egizi. .. case (0)                          A. J. Carlson

10/28/05     C. White..... case     (0)                  Mike Cascino

10/28/05     James Berlemann ... case (0)                R. Gori

11/08/05     Boren.....case (T)                          R. McCoy
11/21/05     JoAnn Witt     (0)                          David Bevon

11/28/05     Flora Franklin (D)                          Joseph Satterley

11/28/05     David Lancaster (D)                         L. R. King

11/29/05     Littlefield .....case (0)                   Douglas King

11/30/05     Alan, Reinstein (D)                         Jennifer Hunt

12102/05     Multiple ..... cases (0)                    Roger Lane

12/05/05     Michael Haskell         (D)                 Robert Bosslet

12/19/05     K. Jonas     (0)                            Frank Wathen



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12/19/05     J. Gallagher (D)                            Michael Bilbrey

12/21/05     Ronald Johnson (0)                          B. Baumstark

12/22/05     Linda Allen (0)                              Scott Carlile

01/10106     Harold Leedom (0)                           Vincent Greene

01/10/06     Harold Leedom (0)                            M. Scarpitti

01/17106     William Shepard (0)                          Lou Black

01/19/06     Anthony Betti, Sr. (0)                       Andrea McNeil

01/31/06     Joseph Tizcareno (0)                         Christopher Wood

02/02/06      Robert Lulich     (0)                       William Fahey

02/02/06     . Multiple ..... cases (D)                   Edward Nass

02/13/06      Avis Brown Little (0)                       Ed Pauley

02/16/06      Kip Ong    (0)                              Peter Gilbert

02/20/06      Ryan and Miller (0)                         Ted Giannaris

02/21/06      Adams group - Baltimore (0)                 Steve Parrott

03/03/06      William Schell (0)                          Robert Paul

03/03/06      James Turnbow (0)                           Michael Bilbrey

03/06/06      Roberts       case (0)                      Peter Gilbert

03/08/06      Parker     Case         (0)                 Stephen Smith, Jr.

03/15/06      Mutiple      cases (0)                      L. P. Rufo

03/15/06      Mutiple     cases (0)                       Ted Giannaris

03/20/06      Adams       case (0)                        Peter T. Nicholl

03/24/06      Gary Randolph (0)                           R. S. Jordan

03/27/06      John M. McCormick (0)                       Christopher M. Stevens




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04/05/06     Asbestos...... cases (0)                   T. Crumpler

04/07/06     John McCormick (0)                         K. Rank

04/07/06     John Ritter (0)                            Robert Paul

04/20/06     James Griffin (0)                          Kendra Smith

05/16/06     Michael Haussman                           A. Carlson

06/01/06     Charles Clephas (0)                        Joe Satterley

06/15/06     Gerald White (0)                            C. R. Banford

06/16/06     Clark.....case (D)                          K. Ranke

06/21/06     Carol Sutterfield (0)                       Russell Cook

06/23/06     James Smukal (0)                            R. S. Sigurdson
07/07/06     W. Blanche, J. Rowan (0)                    M. Cancelliere

0730/06      Stephen Trombatore (0)                      S. Flanagan

08/15/06     James Parsons       (0)                     R. Krause
08/16/06     William Lacey (0)                           B. Baumstark

08/16/d6     Multiple .....cases (0)                     M. Kiely

08/21/06     Harold Garmon        (0)                    Ed Pauley

08/22/06     Multiple.... cases (0)                      P. Browder

08/22/06     Richard Eisinger (0)                        R.T. Connor

08/28/06     Andrew Baker (O)                            M. Reid Acree

98/31/06     Leon Parker (0)                             Ken Sales

09/01/06     Multiple....cases (0)                       Ted Gianaris

09/01/06     T. Sparks (0)                               Stuart Mcintosh

09/06/06     Joyce Applequist        (0)                 C. Hartley




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09/07/06     C. Parisi (D)                                  Matt Kiely

09/11/06     Jasinskas & Weir        (0)                    C. Hartley

09/21/06     Multiple..... cases (D)                        P. Browder

09/29/06     Carmen Stigliano (0)                           Loreto P. Rufo

10/03/06     Video Oepo for Trial                           Roger Lane

10/04/06     Allen Schriener       (T)                      Ted Gianaris

10/13/06     Multiple .....cases (0)                        Ted Gianaris

10/16/06     Michael Haskell (T)                            R. Bosslet

11/02/06     Thomas Myers (0)                               Robert Paul

11/09/06     Evart Young (0)                                William Kastner

11/13/06     James R. Edwards (0)                           B. Craig

11/14/06     Arthur Coughlin (D)                            P. Gilbert

11/15/06     Charles Manzie (0)                             F. Wathen

11/21/06     Duel Lee (D)                                    Kenneth Sales

11/21/06     Paul V. Landingham (0)                          Kenneth Sales

11/21/06     Meso.....case           (D)                    Jeffrey Gross

12/07/06     James Duncan          (D)                       F. Wathen

12/11&13/06 Richard Morell (D)                               R. Cook

12/19/06     Donald Melancon             (0)                 D. Scott Carlile

12/19/06     Curtis Greenhouse (0)                           D. Scott Carlile

01/03/07     James E. Jackson (0)                            D. Marsden

01/04/07     Multiple ...... cases       (0)                 T. Gianaris

01/11/07     Roger Herr      (0)                             K. Alexanderson




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01/16/07     Thomas Gibson (D)                             I. Gustafson

01/17/07     James Daniels (D)                             M.G. McDonald

01/17/07     Watson ....case      (D)                      F. Wathen

01/18/07     David Thompson (D)                            R. Jordan

01/22/07     Deposition                                    Ed Pauley

01/22/07     Brown ....et al. (D)                          M.E. Hutchins

01/24/07     B. Bell    (D)                                R. Jordan

01/30/07     Multiple cases (D)                            Rufo Associates

02/02/07     Allen E. Stafford (D)                         M. Cancelliere

02/16/07     Mary K. Irwin (0)                             Joe Satterley

02/28/07     Bobby L. Jones (0)                             F. Wathen

03/16/07     Multiple.....Oepos      (0)                    R. Sigurdson

03/19/07     Tyndall Graves (0)                             B. Baumstark

03/21-22/07 Monroe.... case (0)                             T. Gianaris

03/23/07     Grace Litigation       (0)                     L. E. Flatley

04/03/07     Multiple... cases        (0)                   E. Present

04/12/07     Armstrong & Macaseib (0)                       E. Present

04/20107     Multiple Montana Cases (D)                     J. Roberts

04/24/07     Nicholas Dippolito         (0)                 E. Reeves

04/25/07     Yelko & Rogers         (D)                     M. Zerega

04/26/07     Multiple         cases (0)                     T. Gianaris

04/27/07     Michael Billas (0)                             E. Reeves.

05/02/07     Multiple cases (0)                             M. Cancelliere




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05/04/07     Gary Walewski (0)                             M. Kerensky

05/08/07     R. Sotkiewiz        (0)                       B. P. Mandell

05/10/07     Thomas Gibson             (D)                 Roger Lane

OS/29/07     Multiple cases (0)                            J. Whelan

05/30/07     R. Mahoney (0)                                Nate Mudd

06/01/07     Hives....case (D)                             F. Wathen

07/03/07     Baltimore Lung Cases (T)                      F. Jekel

07/06/07     F. Conley (0)                                 L.P. Rufo

07/06/07     Stanley Braschuk (0)                          J.J. Ostertag

07/09/07     Multiple .......cases (0)                     T. Gianaris

07/12/07     Charles Kilgus, Jr. (0)                       M. Terpolilli

07/12/07     P. Campbell, K. Jasinkas (0)                  C. Hartley

07/13/07     C. Rich       (D)                             D. Krispin

07/18/07     I C. Gobble     (D)                           M. G. McDonald

07/19/07     W. J. Hamrick             (D)                 Ed Pauley

07/19/07     L. Reese        (0)                           J. Belcher

07/19/07     O. Eubanks (0)                                W. Wagnon

07/30/07     Multiple ...... cases (0)                     P. Browder

08/01/07     M. Hampshire              (D)                 B. Baumstark

08/09/07     Multiple ....cases (0)                        T.Gianaris

08/10/07     W. Mackel       (0)                           A.D. Gutsche

08/15/07     J. Schwarber              (0)                 A. B. Shadburne

08/15/07     F. Franklin     (0)                           J. Satterley




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08/17/07     F. Jauregui    (0)                             A. Gutsche

08/21/07     F. Franklin    (T)                             J. Satterley

08/28/07     W. Leapline (0)                                B. Baumstark

08/28/07     S. Souder      (0)                             M. DiGenova

09/05/07     MUltiple      cases (0)                        R Lane

09/03/07     F. Jauregui    (T)                             D. Hanley

09/06/07     A. MeGrigor (0)                                S. Carlile

09/07/07     Multiple      cases (0)                        T. Gianaris

09/10/07     C. J. Schwarber      (D)                       R Shelton

09/11/07     Multiple ..... cases (0)                       T. Gianaris

09/26/07     M. Pound (0)                                   J. C. Long

10101/07     M. Cofer (0)                                    RS. Kramer

10/01/07     Avoca Litigation (Hearing Appear)              S.Seach

10102/07     Multiple       cases (D)                       T. Gianaris

10/2-3/07    J. Larson (T)                                  T. Gianaris

10/09107     L. W. Reese (0)                                 G. DiMuzio

11/01/07     Video Depo for trial       (D)                  M. Pross

11/02/07     Telephone Deposition (0)                        T. Gianaris

11/09/07     B. Cairns              (0)                      L. Senekeremian

11/16/07     Multiple cases       (D)                        E. Present

11/19/07     Multiple asbestos cases (0)                     L.P. Rufo

11/19/07     McTaggert... case                (D)            C.B. Jabuena

11/20/07     Multiple ... cases     (0)                      T. Gianaris




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11/21/07     C. Stude (0)                                   N. Albritton

12/14/07     W. Atkins (D)                                  A. Carlson

12/19/07     Thompson ... case (D)                          J.A. Gardner

01/03/08     Taylor... case (0)                             G. DiMuzio

01/10/08     Multiple.....cases     (0)                     T. Gianaris

01/15/08     Arnold Russell         (0)                     P. Hagerty

01/17/08     Woker's Camp. Hearing (0)                      M. Pross

01/22/08     14 Asbestos ..... cases (0)                    J. Olinge

01/25/08     Robbie Cagle           (D)                     W. Fahey

01/29/08     Madison County         (T)                     N. Mudd

02/05/08     Charles Rich           (T)                     J. Admiralty

02/08/08     Stephen Guilder        (0)                     J. Feigeles

02/10108     Fry....hearing         (T)                     D.F. Clancy

02/14/08     Glade Cookus           (D)                     K. McNaughton

02/18/08     J. Coffey, R. Montgomery         0)            R. A. Jordan

02/19/08     15 Asbestos cases (0)                          N. Mudd

03/06/08     Brenda Williams        (D)                      K. Leahy

03/12/08     Robert Montgomery (T)                          J. Satterley

03/19/08     Asbestos ..... case (0)                        W. Kohlburn

03/21/08     Toby Knoth              (0)                    T. R. Peters

04/02/08     Asbestos.....case      (0)                      K. Sales

04/15/08     Harris..... case       (0)                      R. Paul

04/16/08     Nicholas Harris        (0)                      R. Lane



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04/18/08     Steven Guilder (Video Cant.)            D. J. Jagolinzer

04/24/08     Philip Rome        (D)                  J. Satterley

04/29/08     Murphy Oil Case    (D)                  K. J. Miller

04/29/08     Bertrella Watson   (D)                  C. Carlile

04/30/08     Howard Denny       (D)                  D. Donahoe

05/01/08     Howard Denny       (D)                  M. Torcello




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